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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,   )                         4:01CR3105
                            )
                 Plaintiff, )
                            )                            ORDER
     vs.                    )
                            )
ARRMON H. DAUGHERTY,        )
                            )
                 Defendant. )

      On September 27, 2007, a dispositional hearing was held.
The defendant appeared in person with his attorney, Michael
Hansen. The United States was represented by Sara Fullerton,
Assistant United States Attorney. Upon admission by the
defendant that he violated the mandatory condition that states
the defendant shall not commit another federal, state, or local
crime, the Court found that the defendant did violate the terms
and conditions of supervised release as alleged in the Report on
Offender Under Supervision set out in allegations 1 and 2 (filing
398). On motion of the government, allegations 3 and 4 were
dismissed.   The Court reprimanded the defendant and stated that
no more violations of supervised release will be tolerated.

     IT IS ORDERED that defendant’s supervised release is not
revoked, and is continued under the same terms and conditions as
previously imposed in the Second Amended Judgment filed June 15,
2004.

     Following the imposition of sentence, the Court advised the
defendant of the right to appeal pursuant to the provisions of
Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. §3742(a) and
that such Notice of Appeal must be filed with the Clerk of this
Court within ten (10) days of this date.

    DATED: September 28, 2007.

                                    BY THE COURT:

                                    s /Richard G. Kopf
                                    United States District Judge
